Case 8:11-cv-00485-AG-RAO Document 789 Filed 01/24/18 Page 1 of 3 Page ID #:18773



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    12   Counsels for Defendant Orly Taitz

    13
    14                        UNITED STATES DISTRICT COURT
    15                  FOR THE CENTRAL DISTRICT OF CALIFORNIA,
                                    SOUTHERN DIVISION
    16                                        :
                                              :
    17   Lisa Liberi, et al.,                 : CIVIL ACTION NUMBER:
                                              :
    18
                                 Plaintiffs, :: 8:11-cv-00485-AG (RAO)
    19                                        : JOINT NOTICE OF
               vs.                            :
    20                                        : GOOD FAITH SETTLEMENT
                                              : CONFERENCE
    21                                        :
                                              :
    22   ORLY TAITZ, et al,                   : Date of Settlement Conference:
                                              : January 22, 2018
    23                           Defendants. ::
                                                Before: Hon. Rozella A. Oliver
    24                                        : (Magistrate)
                                              :
    25                                        :
                                              :
    26                                        :
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    28
         Joint Notice of Good Faith in Settlement Conference
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Case 8:11-cv-00485-AG-RAO Document 789 Filed 01/24/18 Page 2 of 3 Page ID #:18774



     1          TO THE COURT, AND ALL PARTIES, HEREIN THE NOTICE IS
     2
         GIVEN, that on Monday, January 22, 2018, both undersigned counsels, convened
     3
     4   with a third party to conduct a settlement conference.
     5
     6
                1.     The parties and their undersigned counsels conducted the settlement
     7
     8   conference before United States District Court Judge, Magistrate Rozella A.
     9
         Oliver.
    10
    11          2.     This conference was conducted pursuant to Order Dkt. No. 774 (as
    12   amended), in accord with Local Rule 16-15.1, et seq.
    13
                3.     The Conference commenced at 10:00 AM (PST) and concluded
    14
    15   approximately 3:00 PM (PST)
    16
                4.     The undersigned counsel for the Plaintiff, Lisa Ostella, affirms that it
    17
    18   engaged in the conference in good faith.

    19          5.     The undersigned counsel for the Defendant, Orly Taitz, affirms that it
    20
         engaged in the conference in good faith.
    21
    22          6.     Both parties attest, as confirmed by Order Dkt. No. 788, that no
    23
         settlement was reached.
    24
    25
                7.     This Joint Notice of Good Faith is respectfully submitted pursuant to

    26   Order Dkt. No. 774 (as amended)
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         Joint Notice of Good Faith in Settlement Conference
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Case 8:11-cv-00485-AG-RAO Document 789 Filed 01/24/18 Page 3 of 3 Page ID #:18775



     1   Dated: January 24, 2018                               Respectfully submitted,
     2
     3
     4
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         /s/ Jeff Cunningham
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         /s/_Kim Schumann
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         Joint Notice of Good Faith in Settlement Conference
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